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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

WSOU Investment, LLC

vs.                                                 Case No.: 6:20-cv-585
GOOGLE, LLC


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Walter Mostowy                                           , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Google, LLC                                       in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Jones Day                                                with offices at:

               Mailing address: 1755 Embarcadero Rd.

               City, State, Zip Code: Palo Alto, CA

               Telephone: 650-687-4171                      Facsimile: 650-739-3900


       2.      Since    12/14/2021                            , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of California                   .

               Applicant's bar license number is 341454                                                 .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               N/A
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4.     Applicant is presently a member in good standing of the bars of the courts listed above,

       except as provided below (list any court named in the preceding paragraph before which

       Applicant is no longer admitted to practice):




5.     I      have         have not previously applied to Appear Pro Hac Vice in this district

       court in Case[s]:

       Number:                              on the        day of                        ,         .

       Number:                              on the        day of                        ,         .

       Number:                              on the        day of                        ,         .

6.     Applicant has never been subject to grievance proceedings or involuntary removal

       proceedings while a member of the bar of any state or federal court, except as

       provided:




7.     Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

       except as provided below (omit minor traffic offenses):




8.     Applicant has read and is familiar with the Local Rules of the Western District of Texas

       and will comply with the standards of practice set out therein.
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          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has

                 co-counsel in this case who is admitted to practice before the United States District

                 Court for the Western District of Texas.

                 Co-counsel: Michael E. Jones

                 Mailing address: 110 North College, Suite 500

                 City, State, Zip Code: Tyler, Texas 75702

                 Telephone: 903-597-8311


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Walter Mostowy                            to the Western District of Texas pro hac vice for this case only.


                                                       Respectfully submitted,

                                                        Walter Mostowy
                                                       [printed name of Applicant]


                                                       [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 10t day of May                        , 2023 .

                                                        Walter Mostowy
                                                       [printed name of Applicant]


                                                       [signature of Applicant]
